           Case 5:21-mj-05001-ELW Document 9                         Filed 01/12/21 Page 1 of 8 PageID #: 13
$2 5HY &ULPLQDO&RPSODLQW


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                 IRUWKH           WESTERN DISTRICT OF ARKANSAS
                                                       District of Columbia
                                                  BBBBBBBBBB'LVWULFWRIBBBBBBBBBB FAYETTEVILLE DIVISION
                                                                                                5:21MJ-5001-001
                  8QLWHG6WDWHVRI$PHULFD                                                     FILED ON JANUARY 12, 2021
                             Y
                 5LFKDUG %DUQHWW DND %LJR
                                                                            &DVH1R
                                                                                        0-



                            Defendant(s)


                                                  &5,0,1$/&203/$,17
          ,WKHFRPSODLQDQWLQWKLVFDVHVWDWHWKDWWKHIROORZLQJLVWUXHWRWKHEHVWRIP\NQRZOHGJHDQGEHOLHI
2QRUDERXWWKHGDWH V RI                    -DQXDU\                LQWKHFRXQW\RI                                LQWKH
                        'LVWULFWRI           &ROXPELD          WKHGHIHQGDQW V YLRODWHG

             Code Section                                                     Offense Description
 86&  D             E  $            .QRZLQJO\ (QWHULQJ RU 5HPDLQLQJ LQ DQ\ 5HVWULFWHG %XLOGLQJ RU *URXQGV
                                                 :LWKRXW /DZIXO $XWKRULW\ :KLOH &DUU\LQJ D 'DQJHURXV :HDSRQ

 86&  H  & '                    *      9LROHQW (QWU\ DQG 'LVRUGHUO\ &RQGXFW RQ &DSLWRO *URXQGV

 86&                                     7KHIW RI 3XEOLF 0RQH\ 3URSHUW\ RU 5HFRUGV



          7KLVFULPLQDOFRPSODLQWLVEDVHGRQWKHVHIDFWV
6HH DWWDFKHG VWDWHPHQW RI IDFWV




          ✔ &RQWLQXHGRQWKHDWWDFKHGVKHHW
          u


                                                                                               Complainant’s signature

                                                                                        -DPHV 6ROWHV 86 &DSLWRO 3ROLFH
                                                                                                Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
                                                                                          \
7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                              G. Michael Harvey
                                                                                                           2021.01.12 11:55:30
'DWH                                                                                            -05'00'
                                                                                                   Judge’s signature

&LW\DQGVWDWH                           :DVKLQJWRQ '&                               0DJLVWUDWH -XGJH * 0LFKDHO +DUYH\
                                                                                                Printed name and title
 Case 5:21-mj-05001-ELW Document 9                 Filed 01/12/21 Page 2 of 8 PageID #: 14




                                    STATEMENT OF FACTS

        On January 6, 2021, your affiant, Special Agent James Soltes of Capitol Police Department
was on duty and performing my official duties as an Officer of the United States Capitol Police.
Specifically, I am assigned to the Criminal Investigations Section tasked with investigating
criminal activity in and around the Capitol grounds. As a Special Agent of the Capitol Police
Department I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws. The
U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol. On
January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.
        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.
        At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
        In the course of my duties, I learned that an individual entered the restricted office area of
the Speaker of the House of Representatives Nancy Pelosi and took photographs with his feet
propped up on furniture. Those photos were circulated on numerous news media platforms which
identified the individual as RICHARD BARNETT of Gravette, Arkansas. Capitol Police searched
law enforcement databases including Department of Motor Vehicle records and obtained a
 Case 5:21-mj-05001-ELW Document 9                Filed 01/12/21 Page 3 of 8 PageID #: 15




photograph and biographical information for BARNETT. These records confirmed that the
individual in the news photographs did in fact appear to be RICHARD BARNETT of Gravette,
Arkansas DOB 07/12/1960.
        The photos circulated by news media depict BARNETT in and around U.S. Capitol
property. One photo shows BARNETT seated inside of Nancy Pelosi’s office with his feet propped
on a desk with an America flag lying on an adjacent credenza. BARNETT is wearing a hat, plaid
jacket, blue jeans, and brown boots in the photo. Another photo depicts BARNETT seated holding
an envelope in his left hand addressed to The Honorable Billy Long 2453 Rayburn House Office
Building Washington, D.C. 20515 and a digital signature of Nancy Pelosi. In another photo, an
individual whose face is blocked by a flag but appears to be BARNETT based on his clothing is
seated at a different desk with his feet propped holding an American flag and a cell phone. Another
unidentified individual in a brown jacket is sitting next to him on a couch.
 Case 5:21-mj-05001-ELW Document 9            Filed 01/12/21 Page 4 of 8 PageID #: 16




       Video surveillance from a camera positioned outside of the Speaker’s main office door
captures individuals entering and exiting the office. At approximately 2:30 p.m., several
 Case 5:21-mj-05001-ELW Document 9                 Filed 01/12/21 Page 5 of 8 PageID #: 17




unidentified individuals appear to try the door to the office however the door is locked. At
approximately 2:33 p.m. an unidentified individual pushes in the door to the office. At 2:50 p.m.
BARNETT is captured on surveillance video carrying an American flag and a cellular phone while
entering the doors which lead to the Speaker’s conference room adjoining the main office space.
As he is entering it, he is following behind the unidentified individual in the brown jacket. At 2:56
p.m. BARNETT is captured leaving the main office doors of the Speaker’s office space with only
a phone in his hand.
        On the same date, BARNETT spoke to media outlets in a video recording. In the recording,
BARNETT is wearing the same hat and plaid jacket as worn inside of the Speaker’s office except
that BARNETT appears to have removed his shirt. BARNETT is asked by a person off camera
how BARNETT obtained an envelope he is holding, which was addressed to The Honorable Billy
Long 2453 Rayburn House Office Building Washington, D.C. 20515 with a return address of
Office of the Speaker U.S. House of Representatives Washington, D.C. 20515 and a digital
signature of Nancy Pelosi. BARNETT states “I did not steal it. I bled on it because they were
macing me and I couldn’t fucking see so I figured I am in her office. I got blood on her office. I
put a quarter on her desk even though she ain’t fucking worth it. And I left her a note on her desk
that says “Nancy, Bigo was here, you Bitch.”
        In another photograph which appears to be taken outside on Capitol grounds, BARNETT
is depicted holding the envelope he purported to have taken from Speaker Pelosi’s office. Based
on the writing on the envelope, the envelope appears to be the same envelope BARNETT was
photographed holding inside of the office building.




        On January 8, 2021, BARNETT waived his Miranda rights and participated in a custodial
interview with law enforcement. During the interview, Barnett admitted driving from Arkansas to
Washington D.C. to participate in the “Stop the Steal” Rally. During the course of the protests,
BARNETT stated he was pushed inside of the Capitol by a large crowd. BARNETT returned the
 Case 5:21-mj-05001-ELW Document 9                Filed 01/12/21 Page 6 of 8 PageID #: 18




above pictured envelope to law enforcement during the interview. Law enforcement had
previously learned from Speaker Pelosi’s staff that the envelope was empty at the time it was taken
from Speaker Pelosi’s office.

       On January 11, 2021, your affiant learned that law enforcement received a tip that in one
or more of the photographs of BARNETT seated in Speaker Pelosi’s office BARNETT was
carrying a stun gun. Your affiant reviewed the photographs again and determined the tip to be
accurate. As seen in the zoomed in box in the photograph below, the ZAP brand is clearly visible
on the stun gun tucked into BARNETT’s pants. Based on the brand on the weapon, and its
appearance, the weapon appeared to be a ZAP Hike N Strike 950,000 Volt Stun Gun Walking
Stick.




       On January 11, 2021, your affiant also learned that law enforcement conducted a search on
January 8, 2021, at the residence of BARNETT located on Mount Olive Road, Gravette, Arkansas
pursuant to a search warrant issued by Chief U.S. Magistrate Judge Erin L. Wiedemann in the
Western District of Arkansas. During the execution of that warrant, law enforcement observed the
empty packaging for a ZAP Hike n’ Strike Hiking Staff High Voltage Stun Device inside the home.
This packaging is shown in the below photograph.
 Case 5:21-mj-05001-ELW Document 9                 Filed 01/12/21 Page 7 of 8 PageID #: 19




         Based on the foregoing, your affiant submits that there is probable cause to believe that
BARNETT violated 18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; or (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions. Your affiant further submits that there is probable cause
to believe that BARNETT violated 18 U.S.C. § 1752(b)(1)(A) which makes a violation of 18
U.S.C. § 1752(a) a crime punishable by up to 10 years imprisonment where the person, during and
in relation to the offense, uses or carries a deadly or dangerous weapon or firearm. For purposes
of Section 1752 of Title 18, a restricted building includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.
         Your affiant also submits that there is probable cause to believe that BARNETT violated
40 U.S.C. §5104(e)(2)(C), (D), and (G), which makes it a crime to willfully and knowingly (C)
with the intent to disrupt the orderly conduct of official business, enter or remain in a room in any
of the Capitol Buildings set aside or designated for the use of – (i) either House of Congress or a
Member, committee, officer, or employee of Congress, or either House of Congress; or (ii) the
Library of Congress; (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Ground or in any of the Capitol Buildings with the intent to
impede, disrupt or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
 Case 5:21-mj-05001-ELW Document 9              Filed 01/12/21 Page 8 of 8 PageID #: 20




committee of Congress or either House of Congress; or (G) parade, demonstrate, or picket in any
of the Capitol Buildings.
        Furthermore, your affiant submits, there is probable cause to believe that BARNETT also
violated 18 U.S.C. § 641, which makes it a crime to steal or purloin…, a thing of value of the
United States or of any department or agency thereof or any property made…for the United States
or any department or agency thereof . . .” For purposes of this section, the word “value” means
face, par, or market value, or cost price, either wholesale or retail, whichever is greater.



                                                   _________________________________
                                                   SPECIAL AGENT JAMES SOLTES
                                                   CAPITOL POLICE DEPARTMENT


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1th day of January 2021.
                                                                             G. Michael Harvey
                                                                             2021.01.12 11:55:50
                                                                             -05'00'
                                                     ___________________________________
                                                   G. MICHAEL HARVEY
                                                   U.S. MAGISTRATE JUDGE
